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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

ADIN GESS, NOACH NEWMAN,
MAYA PARIZER, NATALIE
SANANDAJI, YONI DILLER, HAGAR
ALMOG, LISHAY LAVI, DAVID
BROMBERG, and ARIEL EIN-GAL,                      Civil Action Case No.
                                                  24 Civ. 00134
                                Plaintiffs,
                     - v. -                       ORAL ARGUMENT
                                                  REQUESTED
BAM TRADING SERVICES INC. d/b/a
BINANCE.US, a Delaware corporation, and
BINANCE HOLDINGS LTD. d/b/a
BINANCE, a foreign company, and
CHANGPENG ZHAO,


                                 Defendants.


           DECLARATION OF SAMSON A. ENZER IN SUPPORT OF
           BINANCE HOLDINGS LIMITED’S MOTION TO DISMISS

      I, SAMSON A. ENZER, declare under penalty of perjury pursuant to 28 U.S.C.

§ 1746 as follows:

      1.     I am a member of the bar of the State of New York and a Partner at the

law firm Cahill Gordon & Reindel LLP, counsel for Defendant Binance Holdings

Limited (“BHL”) in the above-captioned action. I am admitted to practice in this

Court pro hac vice. I submit this declaration to place before the Court certain
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documents that are referred to in the accompanying Memorandum of Law in Support

of BHL’s Motion to Dismiss the Complaint in this case.

        2.    Annexed hereto as Exhibit 1 is a true and correct copy of the

Commodity Futures Trading Commission (“CFTC”) Complaint, dated March 27,

2023, and filed in Commodity Futures Trading Commission v. Zhao, No. 23 Civ.

01887 (N.D. Ill. 2023) (ECF No. 1), (the “CFTC Complaint”).               The CFTC

Complaint is referenced in the Complaint. (See, e.g., Compl. at 15-16, 19).

        3.    Annexed hereto as Exhibit 2 is a true and correct copy of the Consent

Order between the Financial Crimes Enforcement Network (“FinCEN”) and BHL,

dated        November       21,     2023,      which       is        available       at

https://www.fincen.gov/sites/default/files/enforcement_action/2023-1121/FinCEN

_Consent_Order_2023-04_FINAL508.pdf, (the “FinCEN Consent Order”). The

FinCEN Consent Order is referenced in the Complaint. (See, e.g., Compl. at 7, 18).

        4.    Annexed hereto as Exhibit 3 is a true and correct copy of the Plea

Agreement between the U.S. Department of Justice (“DOJ”) and BHL, dated

November 21, 2023, and filed in United States v. Binance Holdings Limited, No. 23

Cr. 00178 (W.D. Wash. 2023) (ECF No. 23), (the “BHL Plea Agreement”). The

BHL Plea Agreement is referenced in the Complaint. (See, e.g., Compl. at 3, 6-7,

18).



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      5.     Annexed hereto as Exhibit 4 is a true and correct copy of the

Information referenced in the BHL Plea Agreement, dated November 14, 2023, and

filed in United States v. Binance Holdings Limited, No. 23 Cr. 00178 (W.D. Wash.

2023) (ECF No. 1), (the “Information”). The Information is referenced in the

Complaint. (See, e.g., Compl. at 3, 6).

      6.     Annexed hereto as Exhibit 5 is a true and correct copy of the Plea

Agreement between the DOJ and Mr. Zhao, dated November 21, 2023, and filed in

United States v. Zhao, No. 23 Cr. 00179 (W.D. Wash. 2023) (ECF No. 31), (the

“Zhao Plea Agreement”). The Zhao Plea Agreement is referenced in the Complaint.

(See, e.g., Compl. at 7).

      7.     Annexed hereto as Exhibit 6 is a true and correct copy of FinCEN’s

November 21, 2023 Press Release, announcing the settlement between FinCEN and

BHL, which is available at https://home.treasury.gov/news/press-releases/jy1925,

(the “FinCEN Press Release”). The FinCEN Press Release is referenced in the

Complaint. (See, e.g., Compl. at 19).

      8.     Annexed hereto as Exhibit 7 is a true and correct copy of the DOJ’s

November 21, 2023 Press Release, announcing the settlement between the DOJ and

BHL, which is available at https://www.justice.gov/archives/opa/pr/binance-and-

ceo-plead-guilty-federal-charges-4b-resolution, (the “DOJ Press Release”). The

DOJ Press Release is referenced in the Complaint. (See, e.g., Compl. at 19-20).

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      9.     Annexed hereto as Exhibit 8 is a true and correct copy of the Remarks

of the Secretary of the Treasury, Janet L. Yellen, on January 8, 2024, which are

available at https://home.treasury.gov/news/press-releases/jy2017, (the “Yellen

Remarks”). The Yellen Remarks are referenced in the Complaint. (See, e.g., Compl.

at 4-5, 16, 20).

 Dated: April 14, 2025                /s/ Harlan I. Prater IV
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